Case 2:19-cr-00104-UNA Document 4-16 Filed 04/17/19 Pagelof1

Milochik, Michael (MPD) ~ ~
From: - 7 ee

Sent: isaac February 16, 2016 10:59 AM

subject Your Quicken Bill Pay Invoice from 02/12/2016.

Greetings from Quicken Billpay-center!

Thank you for your business, and we look forward to the opportunity of serving you again in the
future.

Click the link below to view your Invoice.
http:/Avww.billpay-center.com finvolcesi007448322.doc
If you have any questions call us at 1-877-488-8843,

Sincerely,
Billpay-center

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believed to be clean.

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Constant Contact” "“*

Ap TLE teadaye

Veritext ' 290 West Mt Pleasant Ave ' Sulte 3200 * Livingston NI 07039

Exhibit Q
